Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 1 of 50 PageID# 2146




                         UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)


                                             )
 QUETEL CORPORATION,                         )
                                             )
         Plaintiff,                          )
                                             )
         v.                                  )      Case No. 1:17-CV-00471 (AJT-JFA)
                                             )
 HISHAM ABBAS, et al.,                       )
                                             )
         Defendants.                         )
                                             )

                      PLAINTIFF QUETEL CORPORATION’S
               PROPOSED JURY INSTRUCTIONS REMAINING IN DISPUTE

         Plaintiff QueTel Corporation (“QueTel”), by counsel, respectfully submits the following

 proposed jury instructions that are not completely agreed between the parties, with and without

 citations.

         QueTel reserves the right to add to or amend the below instructions based on submissions

 by Defendants, rulings of the Court and/or as may otherwise be agreed upon or allowed. In

 particular, QueTel reserves the right to submit instructions stating the nature of the case or

 otherwise framing the questions presented upon the conclusion of the evidence.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 2 of 50 PageID# 2147




 Dated: January 17, 2018                Respectfully submitted,

                                       QUETEL CORPORATION,
                                       By counsel

                                       /s/ Patrick J. McDonald
                                       Timothy J. McEvoy, Esq. (VSB No. 33277)
                                       Matthew H. Sorensen, Esq. (
                                       Patrick J. McDonald, Esq. (VSB No. 80678)
                                       CAMERON/MCEVOY PLLC
                                       4100 Monument Corner Drive, Suite 420
                                       Fairfax, Virginia 22030
                                       703-273-8898 (Office)
                                       703-273-8897 (Fax)
                                       tmcevoy@cameronmcevoy.com
                                       msorensen@cameronmcevoy.com
                                       pmcdonald@cameronmcevoy.com
                                       Counsel for Plaintiff QueTel Corporation
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 3 of 50 PageID# 2148




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of January, 2018, I filed the foregoing using the
 Court’s CM/ECF system, which will send notice of electronic filing through the Court’s
 electronic filing system to all counsel of record.



                                                 /s/ Patrick J. McDonald
                                                 Patrick J. McDonald, Esq. (VSB No. 80678)
                                                 Counsel for Plaintiff QueTel Corporation
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 4 of 50 PageID# 2149




             QUETEL PROPOSED JURY INSTRUCTIONS
                  THAT REMAIN IN DISPUTE

                            WITH CITATIONS
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 5 of 50 PageID# 2150




                                         INSTRUCTION A
                                Pre-Evidence Statement of the Case1
                               (To be read before opening statements)

           In this case, Plaintiff QueTel Corporation alleges that Defendants Hisham Abbas,

  Shorouk Mansour and finalcover, LLC, infringed upon a copyright QueTel owns for its source

  code for suit of computer program known as TraQ Suite 6. Plaintiff alleges that TraQ Suite 6

  is an integrated software package that helps law enforcement agencies digitally track evidence

  and related matters. QueTel further alleges that Defendants misappropriated its trade secrets in

  violation of the Virginia Uniform Trade Secrets Act, violated the Virginia Computer Crimes

  Act, converted TraQ Suite 6, and conspired together to do these actions. QueTel also alleges

  that Mr. Abbas breached his employment agreement with QueTel and his duty of loyalty to

  QueTel when he misappropriated TraQ Suite 6’s source code. Finally, QueTel alleges that

  Abbas and finalcover tortiously interfered with QueTel’s business expectancies and contracts.

           Defendants deny these allegations and have asserted the following defenses: (1)

  QueTel’s claims are barred by the applicable statutes of limitations; (2) QueTel’s claims are

  barred by the doctrine of laches; (3) there was no interference with contracts; (4) QueTel has

  waived its claims; (5) there was no contract between Mr. Abbas and QueTel; (6) QueTel’s

  alleged trade secret is not a trade secret and QueTel has not taken the necessary steps to maintain

  its secrecy; (7) QueTel’s claims are barred by the use of what is known as “open source code;”

  (8) QueTel’s damages clams are speculative, and (9) QueTel’s claims are barred by the doctrine

  of election of remedies.




 1
     3C Fed. Jury Prac. & Instr. § 178:1 (6th ed.) (Modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 6 of 50 PageID# 2151




                                        INSTRUCTION B
                                           Witnesses2

         In deciding the facts, you may have to decide which testimony to believe and which

  testimony not to believe. You may believe everything a witness says, part of it, or none of it. In

  considering the testimony of any witness, you may take into account many factors, including

  the witness’s opportunity and ability to see or hear or know the things the witness testified

  about; the quality of the witness’s memory; the witness’s appearance and manner while

  testifying; the witness’s interest in the outcome of the case; any bias or prejudice the witness

  may have; other evidence that may have contradicted the witness’s testimony; and the

  reasonableness of the witness’s testimony in light of all the evidence. The weight of the

  evidence does not necessarily depend upon on the number of witnesses who testify. You are

  entitled to use your common sense in judging any testimony. From these things and all the

  other circumstances of the case, you may determine which witnesses are more believable and

  weigh their testimony accordingly.




 2
  3C Fed. Jury Prac. & Instr. § 101:43 (6th ed.); Virginia Model Jury Instr.-Civil § 2.020 (2008
 ed.).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 7 of 50 PageID# 2152




                                         INSTRUCTION C
                                    Prior Inconsistent Statement3

           You have heard evidence that at some earlier time, a witness has said or done something

  which counsel argues is inconsistent with the witness’s trial testimony.

           Evidence of a prior inconsistent statement is not to be considered by you as affirmative

  evidence in determining liability. Evidence of a prior inconsistent statement was placed before

  you for the limited purpose of helping you to decide whether to believe the trial testimony of

  the witness who contradicted him- or herself. If you find that the witness made the earlier

  statement that conflicts with his or her trial testimony, you may consider that fact in deciding

  how much of his trial testimony, if any, to believe.

           In making this determination, you may consider whether the witness purposely made a

  false statement or whether it was an innocent mistake; whether the inconsistency concerns an

  important fact, or whether it had to do with a small detail; whether the witness had an

  explanation for the inconsistency, and whether that explanation appealed to your common

  sense.

           It is exclusively your duty, based upon all the evidence and your own good judgment, to

  determine whether the prior statement was inconsistent, and if so how much, if any, weight to

  give to the inconsistent statement in determining whether to believe all or part of the witness’s

  testimony.




 3
  4 Sand, et al., Modern Fed. Jury Instructions-Civil Instr. 76-5 (Modified); Seventh Circuit
 Model Civil Jury Instr. 1.14 (Modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 8 of 50 PageID# 2153




                                            INSTRUCTION D
                                            Expert Witnesses4

            In this case, I have permitted certain expert witnesses to express their opinions about

  matters that are in issue. A witness may be permitted to testify or opine on those matters about

  which he has special knowledge, skill, experience, and training. Such testimony is presented to

  you on the theory that someone who is experienced and knowledgeable in the field can assist

  you in understanding or reaching an independent decision on the facts.

            In weighing expert testimony, you may consider the witness’s qualifications, opinions,

  and reasons for testifying, as well as all of the other considerations that ordinarily apply when

  you are deciding whether or not to believe a witness’s testimony. You may give the opinion

  testimony whatever weight, if any, you find it deserves in light of all the evidence in this case.

  You should not, however, accept opinion testimony merely because I allowed the witness to

  give his opinion. Nor should you substitute expert testimony for your own reason, judgment,

  and common sense. The determination of the facts in this case rests solely with you.

           The expert witnesses that testified in this case were: Monty G. Myers and Paul D. Sheriff;

     No party was an expert in this case.




 4
     3C Fed. Jury Prac. & Instr. § 104.50 (6th ed.)(Modified)
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 9 of 50 PageID# 2154




                                        INSTRUCTION E
                                         Demonstratives5

         Certain demonstrative aids, diagrams, charts, and summaries have been shown to you as

  a matter of convenience in order to help explain certain facts. These aids, diagrams, charts, and

  summaries are not evidence. If they do not correctly reflect the facts or figures shown by the

  evidence in the case, or are otherwise not truthful summaries, you should disregard them to the

  extent you deem them inaccurate.




 5
  Third Circuit Model Civil Jury Instr. 2.8 (Modified); Seventh Circuit Pattern Civil Jury Instr.
 1.24 (Modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 10 of 50 PageID# 2155




                                          INSTRUCTION F
                                        Copyright Infringement6

         Subject to certain defenses, one who reproduces, prepares derivative works, distributes,

  performs or displays a copyrighted work during the term of the copyright, infringes a copyright,

  unless licensed by the copyright owner.

         To prove that Defendants infringed QueTel’s copyright, QueTel may show either direct

  evidence of copying, or indirect evidence of copying.

         Direct evidence of copying includes evidence such as party admissions, witness accounts

  of the physical act of copying, and common errors in the works of QueTel and the Defendants.

         Indirect evidence of copying includes evidence that one or more Defendants had access

  to QueTel’s copyrighted work and that there are substantial similarities between the Defendants’

  work and the QueTel’s work. Substantial similarity is a two-pronged test. To prove substantial

  similarity, QueTel must show that the two works are (1) extrinsically similar because they

  contain substantially similar ideas    that   are   subject   to copyright protection   and    (2)

  intrinsically similar in the sense that they express those ideas in a substantially similar manner

  from the perspective of the intended audience of the work.

         In this case, QueTel alleges that Defendants copied TraQ Suite 6’s source code without

  authorization and used it to create a competing product, CaseGuard. If you find that one or more

  Defendants copied TraQ Suite 6’s source code in the development of CaseGuard, you shall find

  that such Defendant or Defendants infringed upon QueTel’s copyright. If you find that one or

  more Defendants did not copy TraQ Suite 6’s source code, then with respect to the claim of



  6
    3B Fed. Jury Prac. & Instr. § 160:20 (6th ed.) (Modified); Humphreys & Partners Architects,
  L.P. v. Lessard Design, Inc., 790 F.3d 532, 537 (4th Cir. 2015), as amended (June 24, 2015)
  (internal citation omitted); Universal Furniture Int'l, Inc. v. Collezione Europa USA, Inc., 618
  F.3d 417, 435 (4th Cir. 2010), as amended (Aug. 24, 2010).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 11 of 50 PageID# 2156




  copyright infringement you shall find against those Defendants who did copy and in favor of

  those Defendants who did not.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 12 of 50 PageID# 2157




                                       INSTRUCTION G
                            Trade Secret Misappropriation: Elements7

         QueTel has also brought a claim for the misappropriation of its trade secrets under the

  Virginia Uniform Trade Secrets Act (“Virginia Act”).         In order to establish that certain

  information has been the subject of a trade-secret violation under Virginia law, a plaintiff must

  prove two statutory elements: (1) the existence of a “trade secret”; and (2) the

  “misappropriation” of that trade secret by the defendant.




  7
    Trident Prod. & Servs., LLC v. Canadian Soiless Wholesale, Ltd., 859 F. Supp. 2d 771, 778
  (E.D. Va. 2012), aff'd, 505 F. App'x 242 (4th Cir. 2013) (quoting MicroStrategy, Inc. v.
  Li, 268 Va. 249, 263, 601 S.E.2d 580, 588 (Va. 2004)); see also Virginia Code §§ 59.1-336-38.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 13 of 50 PageID# 2158




                                        INSTRUCTION H
                       Trade Secret Misappropriation: Trade Secret Defined8

           “Trade secret” means information, including but not limited to, a formula, pattern,

  compilation, program, device, method, technique, or process, that:

           1. Derives independent economic value, actual or potential, from not being generally

  known to, and not being readily ascertainable by proper means by, other persons who can obtain

  economic value from its disclosure or use, and

           2. Is the subject of efforts that are reasonable under the circumstances to maintain its

  secrecy.

           Absolute secrecy is not required to establish the existence of a trade secret. Thus, the

  owner of a trade secret will not lose protection of the law by disclosing the secret to a licensee,

  an employee, or others, provided that the disclosure is made in express or implied confidence.

           Depending on the facts of a particular case, software components, including parts of

  a computer program, may be trade secrets covered by the Virginia Act.




  8
      Va. Code § 59.1-336; MicroStrategy Inc. v. Li, 268 Va. 249, 263, 601 S.E.2d 580, 588 (2004).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 14 of 50 PageID# 2159




                                      INSTRUCTION I
                    Trade Secret Misappropriation: Compensatory Damages9

           If you find that QueTel’s source code for TraQ Suite 6 is a trade secret and that one or

  more Defendants misappropriated it, then QueTel is entitled to recover compensatory damages

  suffered as a result of the misappropriation. Compensatory damages may include both the actual

  loss caused by misappropriation and the unjust enrichment caused by misappropriation that is not

  taken into account in computing actual loss.

           QueTel is not required to prove the amount of its damages with mathematical

  precision; rather, it was only required to produce sufficient facts and circumstances that would

  permit a trier of fact to make an intelligent and reasonable estimate of the amount.




  9
      Va. Code § 59.1-338(A); VMJI No. 45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 15 of 50 PageID# 2160




                                        INSTRUCTION J
                        Trade Secret Misappropriation: Punitive Damages10

           If you find that Defendants’ misappropriation of QueTel’s source code for TraQ Suite 6

  was willful and malicious, you may award punitive damages to QueTel against Defendants in an

  amount not exceed twice any award of compensatory damages, or $350,000.00, whichever is

  less.




  10
       Va. Code § 59.1-338(B).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 16 of 50 PageID# 2161




                                       INSTRUCTION K
                            Virginia Computer Crimes Act: Damages11

           If you find that one or more Defendants committed a Computer Trespass against QueTel,

  QueTel is entitled to an award of damages that resulted from the trespass, including any lost

  profits. Under the VCCA’s Computer Trespass statute, it is unlawful for any person to remove

  any computer data, computer programs or computer software from a computer or computer

  network, or to use a computer or computer network to make or cause to be made an unauthorized

  copy, in any form, of computer programs or computer software residing in, communicated by, or

  produced by a computer or computer network. QueTel is not required to prove the amount of

  its damages with mathematical precision; rather, it was only required to produce sufficient facts

  and circumstances that would permit a trier of fact to make an intelligent and reasonable

  estimate of the amount.




  11
       Va. Code § 18.2-152.4; VMJI No. 45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 17 of 50 PageID# 2162




                                         INSTRUCTION L
                                Breach of Duty of Loyalty: Elements12

            Plaintiff QueTel corporation has also alleged that Abbas has breached his duty of loyalty

  as   an    employee     of   QueTel.   An employee,    including   an employee-at-will,   owes   a

  fiduciary duty of loyalty to his employer during his employment.           Subsumed within this

  general duty of loyalty is the more specific duty that the employee not compete with his

  employer during his employment. An employee violates his or her duty of loyalty when he or

  she misappropriates trade secrets, misuses confidential information, or solicits an employer's

  clients or other employees prior to termination of employment.           Further, an employee has

  a duty of loyalty, fidelity and responsibility to his employer not to remove documents and

  materials of a confidential and secret nature from his employer's possession and to transmit the

  same to a competitor for use by such competitor to their unjust enrichment and damage to the

  employer. The duty to be faithful does not cease when the employment ends. He or she has a

  duty not to reveal confidential information obtained through his employment, and not to use

  such confidential information after he has left his employment.




  12
    Williams v. Dominion Tech. Partners, L.L.C., 265 Va. 280, 289-91, 576 S.E.2d 752, 757-58
  (2003); Can-Do, Inc. v. Galloway, No. G-7737-1., 1982 WL 215314, at *15 (Va. Cir. Ct. Dec.
  28, 1982) (citing Sperry Rand Corp. v. Electronic Concepts, Inc., 325 F. Supp. 1209, 1218, (E.D.
  Va. 1970), vacated and remanded on other grounds, 447 F.2d 1387 (4th Cir. 1997); Bull v.
  Logetronics, Inc., 323 F. Supp. 115, 133 (E.D. Va. 1971) (internal citation omitted); see also
  Community Counselling Service v. Reilly, 317 F.2d 239, 244 (4th Cir. 1963).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 18 of 50 PageID# 2163




                                       INSTRUCTION M
                              Breach of Duty of Loyalty: Damages13

         If you find that QueTel has proven that Mr. Abbas breached his duty of loyalty to QueTel

  by a preponderance of the evidence, then QueTel is entitled to an award of damages against Mr.

  Abbas. Damages for a breach of the duty of loyalty of an employee may be compensatory or

  punitive or both. As to compensatory damages, QueTel is s entitled to what it would have

  received “but for” the breach of fiduciary duty, including lost profits. QueTel is not required to

  prove the amount of its damages with mathematical precision; rather, it was only required to

  produce sufficient facts and circumstances that would permit a trier of fact to make an intelligent

  and reasonable estimate of the amount.




  13
    RitLabs, S.R.L. v. RitLabs, Inc., No. 1:12-CV-215 AJT/IDD, 2012 WL 6021328, at *7 (E.D.
  Va. Nov. 30, 2012) (citing Flippo v. CSC Associates III, LLC, 262 Va. 48 (2001) (awarding both
  compensatory and punitive damages); VMJI No. 45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 19 of 50 PageID# 2164




                                     INSTRUCTION N
                           Damages: Purpose of Contract Damages14

         The objective in breach of contract damages is to put the injured party, so far as can be

  done by money, in the same position as if the contract had been performed.




  14
    Lehigh Portland Cement Co. v. Virginia S.S. Co., 132 Va.257, 270, 111 S.E. 104, 109 (1922);
  see also VMJI 45.500 Practice Commentary.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 20 of 50 PageID# 2165




                                        INSTRUCTION O
             Tortious Interference with Contract and Business Expectancy: Elements15

           Plaintiff QueTel has also alleged that Defendant finalcover, LLC, tortiously interfered

  with QueTel’s employment agreement with Mr. Abbas, and that Mr. Abbas and finalcover

  tortiously interfered with QueTel’s business relationships with its actual and prospective

  customers. You shall find your verdict for QueTel on these claims if you find that QueTel has

  proven, by a preponderance of the evidence, the following:

           (1)    that there was a contract expectancy prospective business relationship, or contract

  between QueTel and Mr. Abbas and/or a third party; and

           (2)    that the defendant in question knew of this contract expectancy, prospective

  business relationship, or contract; and

           (3)    that the defendant in question used improper methods to interfere with the contract

  expectancy, prospective business relationship, or contract; and

           (4)    that the defendant in question intended to interfere with the contract expectancy,

  prospective business relationship, or contract; and

           (5)    that it was reasonably certain that the business relationship would have

  continued or the expectancy would have been realized in the absence of the defendants’ conduct;

  and

           (6)    that QueTel was damaged by the disruption of the contract expectancy, business

  relationship or contract.

          You shall find your verdict for the defendant if the plaintiff failed to prove any one or

  more of these elements; or if you find that the defendant proved by the greater weight of the

  evidence that the interference was justified, privileged or not improper.


  15
       VMJI 40.250 (Modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 21 of 50 PageID# 2166




                                         INSTRUCTION P
                                   Tortious Interference Defined16

         “Tortious interference”    means    only    that   the   interference   was    intentional

  and improper under the circumstances, not that the “improper methods” used were inherently

  illegal or tortious. Methods of interference considered improper are those means that are illegal

  or independently tortious, such as violations of statutes, regulations, or recognized common-law

  rules. Improper methods may include, among other things, fraud, misrepresentation or deceit,

  misuse of inside or confidential information, or breach of a fiduciary relationship. Methods also

  may be improper because they violate an established standard of a trade or profession, or involve

  unethical conduct.




  16
     Maximus, Inc. v. Lockheed Info. Mgmt. Sys. Co., 254 Va. 408, 414, 493 S.E.2d 375, 379
  (1997); Duggin v. Adams, 234 Va. 221, 227, 360 S.E.2d 832, 836 (1987)
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 22 of 50 PageID# 2167




                                      INSTRUCTION Q
           Tortious Interference with Contract and Business Expectancy: Damages17

         If you find that finalcover and/or Mr. Abbas tortiously interfered with QueTel’s contract

  expectancies, prospective business relationships or contracts, then QueTel is entitled to damages

  in the amount of the present value of lost profits resulting from the defendant's actions. In order

  to recover lost profits, QueTel is not required to prove the amount of its damages with

  mathematical precision; rather, it was only required to produce sufficient facts and circumstances

  that would permit a trier of fact to make an intelligent and reasonable estimate of the amount.




   Multi-Channel TV Cable Co. v. Charlottesville Quality Cable Corp., 65 F.3d 1113, 1124 (4th
  17

  Cir. 1995) (citing Commercial Business Systems v. BellSouth Servs., 249 Va. 39, 453 S.E.2d 261,
  268 (1995)); VMJI No. 45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 23 of 50 PageID# 2168




                                        INSTRUCTION R
                                      Conversion: Elements18

         QueTel has also alleged that Defendants committed the tort of conversion. In order to

  prove that one or more Defendants converted QueTel’s property, QueTel must show that one or

  more Defendants wrongfully exercised control or assumed authority over property belonging to

  QueTel. If QueTel demonstrates that by a preponderance of the evidence, your verdict should be

  for QueTel on its claim of conversion.

         QueTel is entitled to recover damages for converted property irrespective of whether the

  Defendants acted in good or bad faith, with care or negligence, or with knowledge or from

  ignorance, in converting the property.




  18
    Hartzell Fan, Inc. v. Waco, Inc., 505 S.E.2d 196, 201 (Va. 1998); Universal C.I.T. Credit
  Corp. v. Kaplan, 198 Va. 67, 76 92 S.E.2d 359, 365 (Va. 1956) (“irrespective”); United Leasing
  Corp. v. Thrift Insur. Corp, 247 Va. 299, 205 (1994) (any wrongful dominion); PGI, Inc. v.
  Rathe Productions, Inc., 265 Va. 334 (2003).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 24 of 50 PageID# 2169




                                         INSTRUCTION S
                                       Conversion: Damages19

         If you find for QueTel on its claim of conversion, QueTel is entitled to a damages award

  in an amount equal to the fair market value of the property converted as of approximately April

  24, 2014, the date of Mr. Abbas’s resignation from QueTel. You may consider evidence of value

  a reasonable time prior and subsequent to the conversion in determining an award of damages for

  conversion. QueTel is not required to prove the amount of its damages with mathematical

  precision; rather, it was only required to produce sufficient facts and circumstances that would

  permit a trier of fact to make an intelligent and reasonable estimate of the amount.




  19
    Mazi v. Gilley, 44 Va. Cir. 322 (1998) (citing Straley v. Fisher, 176 Va. 163 (1940); Haynes v.
  Glenn, 197 Va. 746 (1956); DPR Inc. of Virginia v. Dinsmore, 82 Va. Cir. 451 (2011), opinion
  adopted sub nom. D.P.R Inc. of Virginia v. Dinsmore (Va. Cir. Ct. May 6, 2011); VMJI No.
  45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 25 of 50 PageID# 2170




                                       INSTRUCTION T
                                 Business Conspiracy: Damages20

           If you find that two or more Defendants engaged in a conspiracy as described above,

  QueTel is entitled to recover damages resulting from Defendants’ conspiracy, including, but not

  limited to, its lost profits. QueTel is not required to prove the amount of its damages with

  mathematical precision; rather, it was only required to produce sufficient facts and circumstances

  that would permit a trier of fact to make an intelligent and reasonable estimate of the amount.




  20
       Va. Code § 18.2-500; VMJI No. 45.510 (modified).
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 26 of 50 PageID# 2171




                                        INSTRUCTION U
                         Finding Instructions on Destruction of Evidence21

           You are to take, as established, the following findings of fact made by the Court prior to

  trial:

         (1)      Defendants received a Cease and Desist letter from counsel for QueTel on May

  16, 2016.

         (2)      That Cease and Desist Letter informed Defendants of the general basis for

  QueTel’s claims in this litigation, and requested that Defendants preserve all evidence, including

  any computers used to develop their CaseGuard software.

         (3)      As of May 16, 2016, Defendants were on notice of potential litigation and had a

  duty to preserve the computer or computers used to develop CaseGuard and information relating

  to the development of CaseGuard.

         (4)      After receipt of the Cease and Desist Letter, Defendants destroyed a computer on

  which Mr. Abbas developed the source code for CaseGuard by erasing all data on its hard drive

  and then placing it in a commercial garbage receptacle.

         (5)      By doing so, the Defendants failed to take reasonable steps to preserve it, and the

  information on that computer cannot be restored or replaced through additional discovery.

         (6)      Furthermore, in July 2017, Defendants uninstalled what has been referred to in

  this litigation as a “source code control system” from a subsequent computer used by Mr. Abbas

  to develop CaseGuard’s source code.

         (7)      This deletion of the source code control system occurred just days before the

  defendants had the forensic image of the hard drives prepared for production to the plaintiff and

  was long after the issue of whether a source code control system had been used by the defendants


  21
       Proposed Findings of Fact and Recommendations, ECF No. 58.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 27 of 50 PageID# 2172




  in the development of CaseGuard had been raised during discovery.

      (8)        Also in July 2017, Defendants deleted thousands of CaseGuard-related files from

  the replacement computer, prior to turning over a forensic image of that device.

      (9)        QueTel has been prejudiced by defendants' failure to preserve the computer,

  source code control system and thousands of CaseGuard-related files.

     (10)        Defendants’ destruction of the computer, source code control system and

  thousands of CaseGuard-related files was intentional.

     (11)        Furthermore, Defendants failed to comply with an Order of this Court when they

  failed to image several computers used in the development of CaseGuard, and turn over such

  forensic images to QueTel for examination during discovery in this matter.

         Based on the above, you are instructed as follows:

      (1)        You must presume that the information on the computer used to develop

  CaseGuard that was destroyed by the defendants in late 2016 and the source code control system

  that had been on the replacement computer that was destroyed by the Defendants in July 2017

  would have been unfavorable to the defendants when weighing the evidence in this case;

      (2)        You may presume that the information contained in thousands of CaseGuard-

  related files that were deleted in July 2017 would have been unfavorable to the defendants when

  weighing the evidence in this case; and

      (3)        You may take into consideration the fact that Defendants failed to comply with a

  Court Order to provide plaintiff with information relevant to its claims and the plaintiff was not

  given access to all the computers used by the defendants in developing CaseGuard.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 28 of 50 PageID# 2173




             QUETEL PROPOSED JURY INSTRUCTIONS
                  THAT REMAIN IN DISPUTE

                          WITHOUT CITATIONS
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 29 of 50 PageID# 2174




                                        INSTRUCTION A
                                Pre-Evidence Statement of the Case
                              (To be read before opening statements)

         In this case, Plaintiff QueTel Corporation alleges that Defendants Hisham Abbas,

  Shorouk Mansour and finalcover, LLC, infringed upon a copyright QueTel owns for its source

  code for suit of computer program known as TraQ Suite 6. Plaintiff alleges that TraQ Suite 6

  is an integrated software package that helps law enforcement agencies digitally track evidence

  and related matters. QueTel further alleges that Defendants misappropriated its trade secrets in

  violation of the Virginia Uniform Trade Secrets Act, violated the Virginia Computer Crimes

  Act, converted TraQ Suite 6, and conspired together to do these actions. QueTel also alleges

  that Mr. Abbas breached his employment agreement with QueTel and his duty of loyalty to

  QueTel when he misappropriated TraQ Suite 6’s source code. Finally, QueTel alleges that

  Abbas and finalcover tortiously interfered with QueTel’s business expectancies and contracts.

         Defendants deny these allegations and have asserted the following defenses: (1)

  QueTel’s claims are barred by the applicable statutes of limitations; (2) QueTel’s claims are

  barred by the doctrine of laches; (3) there was no interference with contracts; (4) QueTel has

  waived its claims; (5) there was no contract between Mr. Abbas and QueTel; (6) QueTel’s

  alleged trade secret is not a trade secret and QueTel has not taken the necessary steps to maintain

  its secrecy; (7) QueTel’s claims are barred by the use of what is known as “open source code;”

  (8) QueTel’s damages clams are speculative, and (9) QueTel’s claims are barred by the doctrine

  of election of remedies.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 30 of 50 PageID# 2175




                                        INSTRUCTION B
                                            Witnesses

         In deciding the facts, you may have to decide which testimony to believe and which

  testimony not to believe. You may believe everything a witness says, part of it, or none of it. In

  considering the testimony of any witness, you may take into account many factors, including

  the witness’s opportunity and ability to see or hear or know the things the witness testified

  about; the quality of the witness’s memory; the witness’s appearance and manner while

  testifying; the witness’s interest in the outcome of the case; any bias or prejudice the witness

  may have; other evidence that may have contradicted the witness’s testimony; and the

  reasonableness of the witness’s testimony in light of all the evidence. The weight of the

  evidence does not necessarily depend upon on the number of witnesses who testify. You are

  entitled to use your common sense in judging any testimony. From these things and all the

  other circumstances of the case, you may determine which witnesses are more believable and

  weigh their testimony accordingly.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 31 of 50 PageID# 2176




                                         INSTRUCTION C
                                    Prior Inconsistent Statement

           You have heard evidence that at some earlier time, a witness has said or done something

  which counsel argues is inconsistent with the witness’s trial testimony.

           Evidence of a prior inconsistent statement is not to be considered by you as affirmative

  evidence in determining liability. Evidence of a prior inconsistent statement was placed before

  you for the limited purpose of helping you to decide whether to believe the trial testimony of

  the witness who contradicted him- or herself. If you find that the witness made the earlier

  statement that conflicts with his or her trial testimony, you may consider that fact in deciding

  how much of his trial testimony, if any, to believe.

           In making this determination, you may consider whether the witness purposely made a

  false statement or whether it was an innocent mistake; whether the inconsistency concerns an

  important fact, or whether it had to do with a small detail; whether the witness had an

  explanation for the inconsistency, and whether that explanation appealed to your common

  sense.

           It is exclusively your duty, based upon all the evidence and your own good judgment, to

  determine whether the prior statement was inconsistent, and if so how much, if any, weight to

  give to the inconsistent statement in determining whether to believe all or part of the witness’s

  testimony.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 32 of 50 PageID# 2177




                                          INSTRUCTION D
                                           Expert Witnesses

          In this case, I have permitted certain expert witnesses to express their opinions about

  matters that are in issue. A witness may be permitted to testify or opine on those matters about

  which he has special knowledge, skill, experience, and training. Such testimony is presented to

  you on the theory that someone who is experienced and knowledgeable in the field can assist

  you in understanding or reaching an independent decision on the facts.

          In weighing expert testimony, you may consider the witness’s qualifications, opinions,

  and reasons for testifying, as well as all of the other considerations that ordinarily apply when

  you are deciding whether or not to believe a witness’s testimony. You may give the opinion

  testimony whatever weight, if any, you find it deserves in light of all the evidence in this case.

  You should not, however, accept opinion testimony merely because I allowed the witness to

  give his opinion. Nor should you substitute expert testimony for your own reason, judgment,

  and common sense. The determination of the facts in this case rests solely with you.

         The expert witnesses that testified in this case were: Monty G. Myers and Paul D. Sheriff;

   No party was an expert in this case.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 33 of 50 PageID# 2178




                                        INSTRUCTION E
                                          Demonstratives

         Certain demonstrative aids, diagrams, charts, and summaries have been shown to you as

  a matter of convenience in order to help explain certain facts. These aids, diagrams, charts, and

  summaries are not evidence. If they do not correctly reflect the facts or figures shown by the

  evidence in the case, or are otherwise not truthful summaries, you should disregard them to the

  extent you deem them inaccurate.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 34 of 50 PageID# 2179




                                          INSTRUCTION F
                                        Copyright Infringement

         Subject to certain defenses, one who reproduces, prepares derivative works, distributes,

  performs or displays a copyrighted work during the term of the copyright, infringes a copyright,

  unless licensed by the copyright owner.

         To prove that Defendants infringed QueTel’s copyright, QueTel may show either direct

  evidence of copying, or indirect evidence of copying.

         Direct evidence of copying includes evidence such as party admissions, witness accounts

  of the physical act of copying, and common errors in the works of QueTel and the Defendants.

         Indirect evidence of copying includes evidence that one or more Defendants had access

  to QueTel’s copyrighted work and that there are substantial similarities between the Defendants’

  work and the QueTel’s work. Substantial similarity is a two-pronged test. To prove substantial

  similarity, QueTel must show that the two works are (1) extrinsically similar because they

  contain substantially similar ideas    that   are   subject   to copyright protection   and    (2)

  intrinsically similar in the sense that they express those ideas in a substantially similar manner

  from the perspective of the intended audience of the work.

         In this case, QueTel alleges that Defendants copied TraQ Suite 6’s source code without

  authorization and used it to create a competing product, CaseGuard. If you find that one or more

  Defendants copied TraQ Suite 6’s source code in the development of CaseGuard, you shall find

  that such Defendant or Defendants infringed upon QueTel’s copyright. If you find that one or

  more Defendants did not copy TraQ Suite 6’s source code, then with respect to the claim of

  copyright infringement you shall find against those Defendants who did copy and in favor of

  those Defendants who did not.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 35 of 50 PageID# 2180




                                      INSTRUCTION G
                            Trade Secret Misappropriation: Elements

         QueTel has also brought a claim for the misappropriation of its trade secrets under the

  Virginia Uniform Trade Secrets Act (“Virginia Act”).         In order to establish that certain

  information has been the subject of a trade-secret violation under Virginia law, a plaintiff must

  prove two statutory elements: (1) the existence of a “trade secret”; and (2) the

  “misappropriation” of that trade secret by the defendant.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 36 of 50 PageID# 2181




                                      INSTRUCTION H
                      Trade Secret Misappropriation: Trade Secret Defined

         “Trade secret” means information, including but not limited to, a formula, pattern,

  compilation, program, device, method, technique, or process, that:

         1. Derives independent economic value, actual or potential, from not being generally

  known to, and not being readily ascertainable by proper means by, other persons who can obtain

  economic value from its disclosure or use, and

         2. Is the subject of efforts that are reasonable under the circumstances to maintain its

  secrecy.

         Absolute secrecy is not required to establish the existence of a trade secret. Thus, the

  owner of a trade secret will not lose protection of the law by disclosing the secret to a licensee,

  an employee, or others, provided that the disclosure is made in express or implied confidence.

         Depending on the facts of a particular case, software components, including parts of

  a computer program, may be trade secrets covered by the Virginia Act.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 37 of 50 PageID# 2182




                                     INSTRUCTION I
                   Trade Secret Misappropriation: Compensatory Damages

         If you find that QueTel’s source code for TraQ Suite 6 is a trade secret and that one or

  more Defendants misappropriated it, then QueTel is entitled to recover compensatory damages

  suffered as a result of the misappropriation. Compensatory damages may include both the actual

  loss caused by misappropriation and the unjust enrichment caused by misappropriation that is not

  taken into account in computing actual loss.

         QueTel is not required to prove the amount of its damages with mathematical

  precision; rather, it was only required to produce sufficient facts and circumstances that would

  permit a trier of fact to make an intelligent and reasonable estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 38 of 50 PageID# 2183




                                      INSTRUCTION J
                       Trade Secret Misappropriation: Punitive Damages

          If you find that Defendants’ misappropriation of QueTel’s source code for TraQ Suite 6

  was willful and malicious, you may award punitive damages to QueTel against Defendants in an

  amount not exceed twice any award of compensatory damages, or $350,000.00, whichever is

  less.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 39 of 50 PageID# 2184




                                       INSTRUCTION K
                            Virginia Computer Crimes Act: Damages

         If you find that one or more Defendants committed a Computer Trespass against QueTel,

  QueTel is entitled to an award of damages that resulted from the trespass, including any lost

  profits. Under the VCCA’s Computer Trespass statute, it is unlawful for any person to remove

  any computer data, computer programs or computer software from a computer or computer

  network, or to use a computer or computer network to make or cause to be made an unauthorized

  copy, in any form, of computer programs or computer software residing in, communicated by, or

  produced by a computer or computer network. QueTel is not required to prove the amount of

  its damages with mathematical precision; rather, it was only required to produce sufficient facts

  and circumstances that would permit a trier of fact to make an intelligent and reasonable

  estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 40 of 50 PageID# 2185




                                         INSTRUCTION L
                                 Breach of Duty of Loyalty: Elements

            Plaintiff QueTel corporation has also alleged that Abbas has breached his duty of loyalty

  as   an    employee     of   QueTel.   An employee,    including   an employee-at-will,   owes   a

  fiduciary duty of loyalty to his employer during his employment.           Subsumed within this

  general duty of loyalty is the more specific duty that the employee not compete with his

  employer during his employment. An employee violates his or her duty of loyalty when he or

  she misappropriates trade secrets, misuses confidential information, or solicits an employer's

  clients or other employees prior to termination of employment.           Further, an employee has

  a duty of loyalty, fidelity and responsibility to his employer not to remove documents and

  materials of a confidential and secret nature from his employer's possession and to transmit the

  same to a competitor for use by such competitor to their unjust enrichment and damage to the

  employer. The duty to be faithful does not cease when the employment ends. He or she has a

  duty not to reveal confidential information obtained through his employment, and not to use

  such confidential information after he has left his employment.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 41 of 50 PageID# 2186




                                       INSTRUCTION M
                               Breach of Duty of Loyalty: Damages

         If you find that QueTel has proven that Mr. Abbas breached his duty of loyalty to QueTel

  by a preponderance of the evidence, then QueTel is entitled to an award of damages against Mr.

  Abbas. Damages for a breach of the duty of loyalty of an employee may be compensatory or

  punitive or both. As to compensatory damages, QueTel is s entitled to what it would have

  received “but for” the breach of fiduciary duty, including lost profits. QueTel is not required to

  prove the amount of its damages with mathematical precision; rather, it was only required to

  produce sufficient facts and circumstances that would permit a trier of fact to make an intelligent

  and reasonable estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 42 of 50 PageID# 2187




                                     INSTRUCTION N
                            Damages: Purpose of Contract Damages

         The objective in breach of contract damages is to put the injured party, so far as can be

  done by money, in the same position as if the contract had been performed.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 43 of 50 PageID# 2188




                                      INSTRUCTION O
            Tortious Interference with Contract and Business Expectancy: Elements

         Plaintiff QueTel has also alleged that Defendant finalcover, LLC, tortiously interfered

  with QueTel’s employment agreement with Mr. Abbas, and that Mr. Abbas and finalcover

  tortiously interfered with QueTel’s business relationships with its actual and prospective

  customers. You shall find your verdict for QueTel on these claims if you find that QueTel has

  proven, by a preponderance of the evidence, the following:

         (1)    that there was a contract expectancy prospective business relationship, or contract

  between QueTel and Mr. Abbas and/or a third party; and

         (2)    that the defendant in question knew of this contract expectancy, prospective

  business relationship, or contract; and

         (3)    that the defendant in question used improper methods to interfere with the contract

  expectancy, prospective business relationship, or contract; and

         (4)    that the defendant in question intended to interfere with the contract expectancy,

  prospective business relationship, or contract; and

         (5)    that it was reasonably certain that the business relationship would have

  continued or the expectancy would have been realized in the absence of the defendants’ conduct;

  and

         (6)    that QueTel was damaged by the disruption of the contract expectancy, business

  relationship or contract.

        You shall find your verdict for the defendant if the plaintiff failed to prove any one or

  more of these elements; or if you find that the defendant proved by the greater weight of the

  evidence that the interference was justified, privileged or not improper.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 44 of 50 PageID# 2189




                                        INSTRUCTION P
                                   Tortious Interference Defined

         “Tortious interference”    means    only    that   the   interference   was    intentional

  and improper under the circumstances, not that the “improper methods” used were inherently

  illegal or tortious. Methods of interference considered improper are those means that are illegal

  or independently tortious, such as violations of statutes, regulations, or recognized common-law

  rules. Improper methods may include, among other things, fraud, misrepresentation or deceit,

  misuse of inside or confidential information, or breach of a fiduciary relationship. Methods also

  may be improper because they violate an established standard of a trade or profession, or involve

  unethical conduct.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 45 of 50 PageID# 2190




                                      INSTRUCTION Q
            Tortious Interference with Contract and Business Expectancy: Damages

         If you find that finalcover and/or Mr. Abbas tortiously interfered with QueTel’s contract

  expectancies, prospective business relationships or contracts, then QueTel is entitled to damages

  in the amount of the present value of lost profits resulting from the defendant's actions. In order

  to recover lost profits, QueTel is not required to prove the amount of its damages with

  mathematical precision; rather, it was only required to produce sufficient facts and circumstances

  that would permit a trier of fact to make an intelligent and reasonable estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 46 of 50 PageID# 2191




                                        INSTRUCTION R
                                       Conversion: Elements

         QueTel has also alleged that Defendants committed the tort of conversion. In order to

  prove that one or more Defendants converted QueTel’s property, QueTel must show that one or

  more Defendants wrongfully exercised control or assumed authority over property belonging to

  QueTel. If QueTel demonstrates that by a preponderance of the evidence, your verdict should be

  for QueTel on its claim of conversion.

         QueTel is entitled to recover damages for converted property irrespective of whether the

  Defendants acted in good or bad faith, with care or negligence, or with knowledge or from

  ignorance, in converting the property.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 47 of 50 PageID# 2192




                                        INSTRUCTION S
                                       Conversion: Damages

         If you find for QueTel on its claim of conversion, QueTel is entitled to a damages award

  in an amount equal to the fair market value of the property converted as of approximately April

  24, 2014, the date of Mr. Abbas’s resignation from QueTel. You may consider evidence of value

  a reasonable time prior and subsequent to the conversion in determining an award of damages for

  conversion. QueTel is not required to prove the amount of its damages with mathematical

  precision; rather, it was only required to produce sufficient facts and circumstances that would

  permit a trier of fact to make an intelligent and reasonable estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 48 of 50 PageID# 2193




                                       INSTRUCTION T
                                  Business Conspiracy: Damages

         If you find that two or more Defendants engaged in a conspiracy as described above,

  QueTel is entitled to recover damages resulting from Defendants’ conspiracy, including, but not

  limited to, its lost profits. QueTel is not required to prove the amount of its damages with

  mathematical precision; rather, it was only required to produce sufficient facts and circumstances

  that would permit a trier of fact to make an intelligent and reasonable estimate of the amount.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 49 of 50 PageID# 2194




                                        INSTRUCTION U
                          Finding Instructions on Destruction of Evidence

           You are to take, as established, the following findings of fact made by the Court prior to

  trial:

      (12)        Defendants received a Cease and Desist letter from counsel for QueTel on May

  16, 2016.

      (13)        That Cease and Desist Letter informed Defendants of the general basis for

  QueTel’s claims in this litigation, and requested that Defendants preserve all evidence, including

  any computers used to develop their CaseGuard software.

      (14)        As of May 16, 2016, Defendants were on notice of potential litigation and had a

  duty to preserve the computer or computers used to develop CaseGuard and information relating

  to the development of CaseGuard.

      (15)        After receipt of the Cease and Desist Letter, Defendants destroyed a computer on

  which Mr. Abbas developed the source code for CaseGuard by erasing all data on its hard drive

  and then placing it in a commercial garbage receptacle.

      (16)        By doing so, the Defendants failed to take reasonable steps to preserve it, and the

  information on that computer cannot be restored or replaced through additional discovery.

      (17)        Furthermore, in July 2017, Defendants uninstalled what has been referred to in

  this litigation as a “source code control system” from a subsequent computer used by Mr. Abbas

  to develop CaseGuard’s source code.

      (18)        This deletion of the source code control system occurred just days before the

  defendants had the forensic image of the hard drives prepared for production to the plaintiff and

  was long after the issue of whether a source code control system had been used by the defendants

  in the development of CaseGuard had been raised during discovery.
Case 1:17-cv-00471-AJT-JFA Document 102 Filed 01/17/18 Page 50 of 50 PageID# 2195




     (19)        Also in July 2017, Defendants deleted thousands of CaseGuard-related files from

  the replacement computer, prior to turning over a forensic image of that device.

     (20)        QueTel has been prejudiced by defendants' failure to preserve the computer,

  source code control system and thousands of CaseGuard-related files.

     (21)        Defendants’ destruction of the computer, source code control system and

  thousands of CaseGuard-related files was intentional.

     (22)        Furthermore, Defendants failed to comply with an Order of this Court when they

  failed to image several computers used in the development of CaseGuard, and turn over such

  forensic images to QueTel for examination during discovery in this matter.

         Based on the above, you are instructed as follows:

      (4)        You must presume that the information on the computer used to develop

  CaseGuard that was destroyed by the defendants in late 2016 and the source code control system

  that had been on the replacement computer that was destroyed by the Defendants in July 2017

  would have been unfavorable to the defendants when weighing the evidence in this case;

      (5)        You may presume that the information contained in thousands of CaseGuard-

  related files that were deleted in July 2017 would have been unfavorable to the defendants when

  weighing the evidence in this case; and

      (6)        You may take into consideration the fact that Defendants failed to comply with a

  Court Order to provide plaintiff with information relevant to its claims and the plaintiff was not

  given access to all the computers used by the defendants in developing CaseGuard.
